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UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT
EMELIKE NWOSUOCHA,

                   Plaintiff,                   Docket #: 23-703

             – against –                        Appeal From: 1:21-cv-04047 (VM)
DONALD MCKINLEY GLOVER, II, et.
al,

                   Defendants.

DEFENDANTS-APPELLEES’ OPPOSITION TO APPELLANT’S MOTION
    FOR LEAVE TO BRING ELECTRONIC DEVICES INTO THE
          COURTROOM DURING ORAL ARGUMENT

      Defendants-Appellees Donald McKinley Glover, II, Jeffrey Lamar Williams,

Kobalt Music Publishing America, Inc. d/b/a Songs of Kobalt Music Publishing,

Sony Music Entertainment, Young Stoner Life Publishing, LLC, 300 Entertainment

LLC (f/k/a Theory Entertainment LLC d/b/a 300 Entertainment), Atlantic Recording

Corporation, Warner-Tamerlane Publishing Corp., Songs of Universal, Inc., and Roc

Nation Publishing LLC d/b/a Songs of Roc Nation (collectively, “Appellees”)

respectfully oppose one prong of the eleventh-hour motion of Plaintiff-Appellant

Emelike Nwosuocha (“Appellant”) to bring electronic devices into the courtroom

during oral argument (ECF 141, the “Motion”).

      Appellant seeks permission to bring different electronic devices into the

courtroom for two distinct purposes. First, Appellant requests leave to bring “each

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counsel’s laptop (with chargers, mouse, etc.)” into the courtroom (Motion at 1) for

the purposes of “avoid[ing] the burden and expense of substantial printing” of the

appellate record and navigating the record more efficiently. (Id. at 2.) Appellees do

not oppose this portion of the Motion, which Appellant was told yesterday.

      Second, Appellant requests leave to bring “an electronic audio-playback

device” into the courtroom for the playing of audio files. (Id. at 1.) Appellees

oppose this portion of the Motion.

      There is a Record on Appeal in this case. Appellant is not entitled to

supplement the Record with whatever audio files or audio performances it

contemplates presenting to this Court. In this regard, Appellant has completely

failed to identify – in both his last minute correspondence to Appellees and in the

Motion itself – what he contemplates playing at the argument of this matter.

      The works at issue are in the Record. A. 109 n.2. If what Appellant

contemplates playing is exactly what is already in the Record, then it is unnecessary

as it is in the Record and available to the Panel. If what Appellant contemplates

playing are selected, limited segments, or snippets of the works (the Motion

references only “portions of the songs,” Motion at 1) and/or manipulated versions

that emphasize particular elements of the works (the Motion references only “certain

aspects of the two songs,” id.) – in other words, something other than what is part of

the Record – that is entirely improper. The Panel has before it exactly what the

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District Court had available to it. Appellant is not entitled to create a new record on

which to try to mount a challenge to the District Court’s findings. 1

                                  CONCLUSION

      For the foregoing reasons, Appellees respectfully submit that the Motion

should be denied to the extent Appellant seeks leave to bring “an electronic audio-

playback device” into the courtroom in order to play audio files during oral argument.

Dated: New York, New York
       April 12, 2024

                                                     JONATHAN D. DAVIS, P.C.

                                              By:    /s/ Jonathan D. Davis
                                                     Jonathan D. Davis
                                                     Alyssa M. Pronley
                                                     Anthony C. LoMonaco

                                                     PRYOR CASHMAN LLP

                                              By:    /s/ Ilene S. Farkas
                                                     Ilene Farkas
                                                     Donald S. Zakarin

                                                     QUINN EMANUEL
                                                     URQUHART     &
                                                     SULLIVAN LLP


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 Appellant’s position on this Motion that the “central” issue on this appeal relies on
a comparison of the works contradicts his argument that the District Court lacked
jurisdiction to reach this issue when it found that Appellant failed to register the
musical composition at issue (having registered only a sound recording copyright
and there is no claim based on this sound recording). (Id.) To the extent the Court
reaches that issue, it should do so on the Record, not on something Appellant now
wants to unilaterally add to the Record.
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                                By:   /s/ Alex Spiro
                                      Alex Spiro
                                      Paul B. Maslo

                                Attorneys for Defendants-Appellees




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                        CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing memorandum of law complies with FRAP

27 and Local Rule 27, because it contains 622 words. In preparing this certification,

I have relied on the word processing software used to prepare this document. This

brief was prepared in Microsoft Word using Times New Roman 14-point font.

Dated: April 12, 2024                        JONATHAN D. DAVIS, P.C.


                                             /s/ Jonathan D. Davis
                                             Jonathan D. Davis




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                        CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing was filed with the Clerk

of the Court for the United States Court of Appeals for the Second Circuit via the

appellate CM/ECF system. Participants in this case who are registered CM/ECF

users have been served via the appellate CM/ECF system.

Dated: April 12, 2024                       JONATHAN D. DAVIS, P.C.


                                            By:   /s/ Jonathan D. Davis
                                                  Jonathan D. Davis




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